OPINION — AG — THE AMENDMENT TO 85 O.S.H. 173(B), AS AMENDED, CONTAINED IN HOUSE BILL NO. 612 OF THE 25TH LEG., WHICH PROVIDES THAT 2 PERCENT OF AN AWARD (OR PAYMENT IN LIEU THEREOF, MADE BY THE STATE INDUSTRIAL COMMISSION FOR PERMANENT DISABILITY, SHALL BE PAID TO THE OKLAHOMA TAX COMMISSION FOR THE BENEFIT OF THE SPECIAL INDEMNITY FUND, IS EFFECTIVE AS TO ALL SUCH AWARDS OR PAYMENTS MADE AFTER THE EFFECTIVE DATE OF HOUSE BILL NO. 612) EVEN THOUGH THE INJURY UPON WHICH THE AWARD IS BASED MAY HAVE OCCURRED PRIOR TO SAID DATE. CITE: 85 O.S.H. 173 (RICHARD HUFF)